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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

NICOLE JENNINGS WADE,                         )
JONATHAN D. GRUNBERG, and                     )
G. TAYLOR WILSON,                             )
                                              )
      Plaintiffs,                             )
                                              )
v.                                            )
                                              )      CIVIL ACTION
L. LIN WOOD,                                  )
                                              )      FILE NO. 1:22-cv-1073-MLB
     Defendant.                               )
_______________________________               )

     CONSENT MOTION TO ENLARGE TIME TO FILE ANSWER OR
             OTHERWISE RESPOND TO COMPLAINT

      Comes now Defendant L. LIN WOOD, with the consent of Plaintiffs’ counsel,

and hereby respectfully requests an extension of time through and including June 3,

2022 to file his responsive pleading or pleadings to Plaintiffs’ Verified Complaint for

Defamation.

      The Court entered an Order on April 21, 2022, lifting the stay of this matter and

directing the Defendant to file a response to the Plaintiffs’ Complaint by Monday,

May 23, 2022. Defendant requests a new filing deadline of June 3, 2022. Plaintiffs’

counsel has consented to the extension.

      Good cause exists for the Court to grant this Motion under Fed. R. Civ. P. 6(b),

to wit: a) counsel for Defendant was retained after the Court conducted a hearing on
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recusal issues, and b) a determination of insurance coverage between Defendant and

Georgia Farm Bureau Mutual Insurance Company (hereinafter referred to as “Farm

Bureau”) is ongoing. In particular, a separate Complaint for Declaratory Judgment has

recently been filed by Farm Bureau in state court.

      Therefore, pursuant to Fed. R. Civ. P. 6(b), the parties hereby stipulate and

request that Defendant, L. LIN WOOD, have through June 3, 2022 to file his

responsive pleading or pleadings to Plaintiffs’ Verified Complaint for Defamation.

      This 20th day of May, 2022.

Prepared and filed by:
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Consented to:

                                       BUCKLEY BEAL LLP

                                       By: /s/ _MILINDA BROWN
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G. TAYLOR WILSON,                            )
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      Plaintiffs,                            )
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v.                                           )
                                             )     CIVIL ACTION
L. LIN WOOD,                                 )
                                             )     FILE NO. 1:22-cv-1073-MLB
     Defendant.                              )
_______________________________              )

                                          ORDER

      UPON CONSIDERATION of the parties’ Consent Motion To Enlarge Time To

Answer Or Otherwise Respond To Complaint, it is hereby:

      ORDERED that the Motion is GRANTED, and it further ORDERED that

Defendant L. Lin Wood shall file his Answer or otherwise respond to the Complaint on or

before June 3, 2022.

      So Ordered this _________day of ______, 2022



                                      _________________________________
                                      Judge Michael L. Brown
                                      United States District Judge
